                                      AFFIDAVIT
   I, Special Agent Aaron M. Preston, being first duly sworn, hereby depose and state as
   follows:
                               INTRODUCTION

1. I am a Special Agent (“SA”) with the Bureau of Alcohol, Tobacco, Firearms and
   Explosives (“ATF”), and have been an ATF Agent since February 2019. I am currently
   assigned to the Charleston Field Office in South Carolina.

2. I am an investigative or law enforcement officer of the United States within the meaning
   of Section 2510(7) of Title 18, United States Code, and empowered by law to conduct
   investigations and to make arrests for offenses enumerated in Titles 18, 21 and 26 United
   States Code. As an ATF SA, I have received training in federal firearms and narcotics laws
   and regulations at the ATF National Academy. I regularly refer to these laws and
   regulations during the course of my duties. I have received extensive training in federal
   firearms, explosives and narcotic laws, the identification and operation of firearms and
   criminal firearm investigations. I have conducted investigations regarding firearms
   trafficking, violations committed by federal firearm licensees (FFL’s), and those involving
   the unlawful manufacture, possession and transfer of firearms. I have participated in the
   use of cooperating informants, undercover agents, pen register/trap and trace devices, video
   surveillance, wiretaps, GPS tracking devices, and audio surveillance, among other law
   enforcement techniques, in the course of my career with ATF. Through my investigations,
   and my training and experience, I have become familiar with the tactics and methods used
   to illegally traffic, manufacture, transfer, and or possess firearms. Additionally, I have
   participated in numerous controlled buys of firearms and narcotics from targets of law
   enforcement investigations. Based on my training and experience, I am familiar with
   methods used for firearms trafficking and narcotics trafficking. I have conducted
   investigations into gang members, persons who commit crimes of violence, which include
   murder, assaults, persons who deal in controlled substances, and persons who traffic in
   firearms and prohibited persons who possess firearms.

3. The facts in this affidavit come from my personal observations, my training and experience,
   and information obtained from other agents, investigators, and witnesses. This affidavit is
   intended to show merely that there is sufficient probable cause for the requested warrant
   and does not set forth all of my knowledge about this matter.

                           PURPOSE OF THE AFFIDAVIT

4. I make this affidavit in support of an application to obtain a search warrant authorizing the
   collection of a DNA sample from Trevonte Aurmon SINGLETON, further described in


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   Attachment A, by collecting oral (buccal) swab samples according to the standard practices
   and procedures employed by the ATF for DNA testing. Based on my training and
   experience, I believe that the requested DNA sample may yield further evidence that
   SINGLETON engaged in federal crimes in violation of Title 18 U.S.C. Section 922 (g)(1)
   and Section 924(c) and Title 21 U.S.C. Section 841(a)(1).

5. As set forth herein, there is an ongoing federal investigation in the District of South
   Carolina by the ATF involving the possession of a firearm by SINGLETON, who has been
   previously convicted of a felony. On August 18, 2023, SINGLETON was believed to have
   been in possession of a firearm in Charleston, South Carolina. The investigation into the
   possession of firearms by a prohibited person is ongoing.

6. The information upon which this affidavit is based includes information obtained by the
   affiant through investigation, interviews, observations, experience and/or conferring with
   other law enforcement officers. This affidavit is being submitted for the limited purpose of
   obtaining a search warrant for DNA evidence. I have not included each and every fact
   known to me and/or other law enforcement officers concerning this investigation.

                              SUMMARY OF INVESTIGATION

7. On August 18, 2023, at approximately 2259 hours, Deputy Hood of the Charleston County
   Sheriff’s Office (CCSO) was on patrol on Patriot Blvd. near Palmetto Commerce Parkway.
   Deputy Hood observed a vehicle (Nissan Kick; SC tags: VVP624) traveling at a high rate
   of speed with no headlights. As Deputy Hood was attempting to inform dispatch of the
   traffic stop on the above vehicle, a gold Cadillac vehicle (FL tags: JJXK81), made an illegal
   U-turn, almost striking both the Nissan and Deputy Hood’s vehicle. Deputy Hood then
   informed dispatch that she would be conducting a traffic stop on both vehicles. Deputy
   Hood initiated her emergency lights and sirens and the Nissan immediately pulled over.

8. The Cadillac was behind Deputy Hood at this time, and she directed the Cadillac to pull
   over. The vehicle began pulling forward as Deputy Hood gave loud verbal commands, as
   well as hand gestures for the vehicle to pull to the shoulder of the roadway. The Cadillac
   continued to move forward and Deputy Hood had to move out of the way of the vehicle,
   fearing that the vehicle might strike her. During this entire time, Deputy Hood was
   continually giving loud verbal commands as well as using hand gestures for the vehicle to
   pull over. It was at this time that the Cadillac began reversing and made a U-turn and
   increased its speed to evade Deputy Hood. Deputy Hood got back in her patrol vehicle and
   pursued the fleeing vehicle. The Cadillac continued to increase its speed and turned onto
   Weber Blvd. The Cadillac attempted to make another U-turn but was unable to fully
   complete the turn and crashed into a ditch. Deputy Hood observed a black male


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   approximately 5 feet 10 inches tall, with short twist dreadlocks wearing a black t-shirt,
   black jean shorts and white with colored print boxers, exit the driver door and flee on foot.
   The male driver, and only occupant of the vehicle, was able to evade Deputy Hood as he
   ran into the woods near the incident location. A CCSO K9 unit and other Deputies
   attempted to track the suspect through the woods but were unable to locate him.

9. Deputy Hood then conducted a probable cause search of the vehicle and located a white
   powdery substance in a clear plastic baggy in the driver side door. The white powdery
   substance weighed approximately 6.5 grams and field tested positive for cocaine. A firearm
   (Glock; model 22; .40 caliber semiautomatic pistol) with an extended magazine with
   twenty (20) rounds of .40 caliber Smith and Wesson Winchester ammunition and two (2)
   rounds of .40 caliber Smith and Wesson Guilio Fiocchi- Lecco (GFL) loaded in the
   magazine was located on the front passenger floorboard. There were two cell phones
   located in the vehicle as well. One, a black flip TCL phone, was located on the driver’s
   seat and the other, a black iPhone with no case was located charging on the center counsel.
   Inside the vehicle, Deputy Hood located a box of clear plastic sandwich bags, a clear plastic
   baggy containing approximately 9.6 grams of suspected marijuana, a tan prescription bottle
   with four (4) light pink round pills (10mg each) with the imprint of K56 and four (4) green
   round pills (15mg each) with the imprint of K8, a black digital scale, a bank card with the
   name of Trevonte SINGLETON on it, a prescription bottle in the name of Trevonte
   SINGLETON for Doxycycline, an arm band with the name of Trevonte SINGLETON, and
   a rental agreement for the vehicle in the name of Trevonte SINGLETON. Deputy Hood
   ran the name through the South Carolina Department of Motor Vehicles (SCDMV)
   database and was able to positively identify SINGLETON as the driver of the vehicle that
   fled from the scene of the incident.

10. Deputy Hood then contacted dispatch to check to see if the firearm and/ or vehicle had
    been reported stolen. Dispatch informed Deputy Hood that the firearm had been reported
    stolen through Beaufort County Sheriff’s Office (BCSO). Deputy Hood spoke to BCSO,
    and they advised that it was a law enforcement issued weapon and that the agency was
    Montgomery County Sheriff’s Office.

11. Deputy Lyerly, who arrived on scene to assist Deputy Hood, took all of the evidence and
    transported it to CCSO. Deputy Hood verified through Drugs.org pill identifier that the
    pills that were located in the tan prescription bottle container were Oxycodone.


                                       CONCLUSION
12. Based on all the facts and circumstances described above, I believe probable cause exists
    that SINGLETON was in possession of the Glock 22, .40 caliber pistol serial number
    BGGY560, and illegal narcotics on August 18, 2023. Moreover, I believe that probable

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      cause exists that the collection of a DNA (oral swab) sample from SINGLETON, when
      compared against the swab samples taken from the firearm may yield further evidence that
      SINGLETON was in possession of these items in violation of Title 18 U.S.C. Section 922
      (g)(1) and Section 924(c) and Title 21 U.S.C. Section 841(a)(1).

   13. For the above reasons, I respectfully request that a search warrant authorizing ATF to
       search Trevonte Aurmon SINGLETON, as outlined in attachment “A” to the search
       warrant, be granted in order to collect DNA samples from him by obtaining oral swab
       samples using the standard procedures developed by ATF as described in attachment B.

   14. This affidavit has been reviewed by Assistant United States Attorney Lee Holmes.


                                           Respectfully submitted,



                                                                Digitally signed by AARON
                                          AARON PRESTON PRESTON
                                          ______________________________
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                                          Aaron M. Preston, Special Agent
                                          Bureau of Alcohol, Tobacco, Firearms and
                                          Explosives

SWORN TO ME VIA TELEPHONE OR
OTHER RELIABLE ELECTRONIC MEANS
AND SIGNED BY ME PURSUANT TO
FED. R. CRIM. P. 4.1 AND 4(d) OR 41(d)(3),
AS APPLICABLE



       24th day of ________________,
This _____                 July      2024
Charleston, South Carolina




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__________________________________________
The Honorable Mo
               olllly H. Cherry
              Molly
UNITED STATES  S MA
                  M    GISTRATE JUDGE
                  MAGISTRATE




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